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Ball, Cathy

From:                          French, Ann Marie
Sent:                          Thursday, August 4, 2022 1:47 PM
Subject:                       NEWS RELEASE: City retains law firm to conduct special investigation
Attachments:                   Firm hired for investigation.docx

                                                                          V/14,1
Aug. 4, 2022
For immediate release                                            •          S--Lf7c7


CONTACT:        Cathy Ball, city manager
                423.434.6002


                         City retains law firm to conduct special investigation

The City of Johnson City has entered into a contract with Connecticut-based Daigle Law Group to conduct
an independent investigation of the Johnson City Police Department's handling of sexual assault cases.
Daigle Law Group is a leading law firm specializing in management consulting services in support and
development of effective and constitutional policing practices.

Led by Attorney Eric Daigle, the investigation will consist of three initial phases to determine if acts,
policies, and practices of the Johnson City Police Department and/or its officers are consistent with
acceptable practice in law enforcement. The first phase, which is currently under way, consists of
reviewing sexual assault incident reports dating back to January 2018. Daigle will have access to all
sexual assault reports from the past 4 and half years to determine how they were handled as compared to
national standards set by the Commission on Accreditation for Law Enforcement Agencies (CALEA) as
well as the District Attorney's Office and the JCPD's general orders. Daigle will interview Police personnel,
victims and others as needed before developing a complete report of findings. The process is subject to
modification as the investigation unfolds.

"I'm pleased that we were able to secure the services of a national expert on these matters, and we are
committed to trusting their methods, process and recommendations," said City Manager Cathy Ball.

Daigle anticipates that the investigation will take five to six months to complete. The City will provide
updates at the conclusion of each phase of the investigation.

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Case 2:23-cv-00071-TRM-JEM Document 221-8 Filed 06/15/24 Page 39 of 53 PageID #:
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Case 2:23-cv-00071-TRM-JEM Document 221-8 Filed 06/15/24 Page 40 of 53 PageID #:
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Case 2:23-cv-00071-TRM-JEM Document 221-8 Filed 06/15/24 Page 42 of 53 PageID #:
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Case 2:23-cv-00071-TRM-JEM Document 221-8 Filed 06/15/24 Page 43 of 53 PageID #:
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Case 2:23-cv-00071-TRM-JEM Document 221-8 Filed 06/15/24 Page 45 of 53 PageID #:
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Case 2:23-cv-00071-TRM-JEM Document 221-8 Filed 06/15/24 Page 46 of 53 PageID #:
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        Case 2:23-cv-00071-TRM-JEM Document 221-8 Filed 06/15/24 Page 47 of 53 PageID #:
                                            4602                                  Ball000046
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Confidential – Subject to Protective Order                                                                                             CITY-0139814



                                                                                                  July 2022                  August 2022
      July 21, 2022                                                                     SuMo TuWe Th Fr Sa
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                   THURSDAY                                                                                          Daily Task List
                                                                                                     Arrange by: Due Date
                   21
                   - From Jul 18                         Tom Off                    To Jul 29 -)
                    - From Jul 19            Vice-Mayor Fowler Out of Country       To Jul 31 •

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        3          Hold for meeting with Sunny , Joy and Keisha




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     Ball, Cathy                                                                1                                                 5/10/2024 4:47 PM
            Case 2:23-cv-00071-TRM-JEM Document 221-8 Filed 06/15/24 Page 48 of 53 PageID #:
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Confidential – Subject to Protective Order                                            CITY-0139815


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         Case 2:23-cv-00071-TRM-JEM Document 221-8 Filed 06/15/24 Page 49 of 53 PageID #:
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Confidential – Subject to Protective Order                                                                               CITY-0139816



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                   WEDNESDAY                                                                           Daily Task List
                                                                                       Arrange by: Due Date
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                                            Dustin Off (Vacation)       To Aug 12 ->

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                   Conference Call w/ Daigle; Sandos, Sunny

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     Ball, Cathy                                                    1                                               5/10/2024 4:48 PM
            Case 2:23-cv-00071-TRM-JEM Document 221-8 Filed 06/15/24 Page 50 of 53 PageID #:
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Confidential – Subject to Protective Order                                          CITY-0139817




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         Case 2:23-cv-00071-TRM-JEM Document 221-8 Filed 06/15/24 Page 51 of 53 PageID #:
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Confidential – Subject to Protective Order                                                                                                      CITY-0139818




                                                                                                         January 2023                February 2023
      January 19, 2023                                                                           SuMo TuWe Th Fr Sa
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                                                                                                                              Daily Task List
                   THURSDAY
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                   (- From Jan 16 Martin Luther King Jr. Student Art Exhibition (McKinney CenTo Jan 20

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                                                               Johnson City Staff / Eric Daigle
                                                               Microsoft Teams Meeting; Ball, Cathy

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     Ball, Cathy                                                                 1                                                         5/10/2024 4:15 PM
            Case 2:23-cv-00071-TRM-JEM Document 221-8 Filed 06/15/24 Page 52 of 53 PageID #:
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Confidential – Subject to Protective Order                                                       CITY-0139819




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         Case 2:23-cv-00071-TRM-JEM Document 221-8 Filed 06/15/24 Page 53 of 53 PageID #:
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